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Mark J. Geragos
California State Bar #108325
GERAGOS & GERAGOS
644 S. Figueroa Street
Los Angeles, CA 90017
Telephone: (213) 625-3900
Facsimile: (213) 625-1600

Jon D. Williams (8318)
9 Exchange Place, Suite 600
Salt Lake City, UT 84111
Telephone: (801) 746-1460
Facsimile: (801) 998-8077

Attorneys for Lev Aslan Dermen


                       IN THE UNITED STATES DISTRICT COURT

                           DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA,                      DEFENDANT LEV DERMEN’S MOTION
                                                FOR RECONSIDERATION RE ORDER
              Plaintiff,                        GRANTING IN PART AND DENYING IN
                                                PART GOVERNMENT’S MOTION FOR
                                                RELIEF FROM ORDER GRANTING
    vs.                                         MOTION FOR JAMES HEARING AND
                                                SUPPORTING MEMORANDUM

                                                       Case No. 2:18-CR-00365-JNP-BW

 LEV ASLAN DERMEN,                                         Honorable Jill N. Parrish
                                                          Magistrate Brooke C. Wells
             Defendant.


       Defendant Lev Aslan Dermen (“Mr. Dermen”), pursuant to Fed. R. Crim. P. 12(b),

hereby moves for a Stay of the Court’s Order Granting in Part and Denying in Part Motion for
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Relief from Order Granting Motion for James Hearing (the “Order”), filed on May 29, 2019,

Dkt. 322, and submits this supporting memorandum.

                                        INTRODUCTION

       It is apparent from the Court’s recent Order that the government believes the issues

involved in ​a case about renewable fuel tax credits​ - warrant stripping the accused defendants of

their Constitutional rights of Due Process. It is unfathomable that now, 10 months later, three

men remain detained waiting for trial on a tax credit case. However, recent rulings by this Court

resulted in treatment of these defendants as though they are detained for national security

offenses. In fact, the constitutional deprivations that continue to stack up in this case, are even

more so than if they had violated national security. This is because even in national security

cases, those defendants receive more due process, and more protection of their constitutional

rights than the defendants have received thus far in this case. Specifically, the Court’s recent ​ex

parte​ meeting with the government, which excluded defense counsel from previewing the

evidence and participating in the adversarial process, led to the Court’s decision to modify a

prior order without any input from the defendants. This action by the Court was a clear

usurpation of authority and an attempt to coopt the defense. The Court should stay its Order until

the defense can present its own ​ex parte​ argument on these issues.

                           PROCEDURAL BACKGROUND

       In an Order filed March 14, 2019, Dkt. 234, the Court set a firm trial date of July 29,

2019. Later, in the Trial Order, filed April 5, 2019, Dkt. 256, the Court ordered the government

to provide all Jencks materials to defendants by June 3, 2019. The Court allowed some of that
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material be labeled “attorney eyes only,” and specified that these AEO materials could not be

shared by defense counsel with the defendants until July 15, 2019.

       After a motion for a pretrial James hearing submitted by defendant Sally Kingston, Dkt.

295, and later joined by Mr. Dermen, Jacob, Isaiah, and Rachel Kingston, and to which the

government had an opportunity, and did, respond, the Court granted the motion in its May 16,

2019, Order Granting Motion for James Hearing (“Order for James Hearing”). In that Order, the

Court ordered the government to file, by June 3, 2019, a written proffer of facts to prove the

existence of the alleged conspiracies and each defendant’s alleged knowing participation in

them. The Order for James Hearing set defendants’ deadline to file objections as June 17, 2019

and set a hearing for June 20, 2019.

       The Order for James Hearing also set a deadline of July 3, 2019, for the government to

submit a document containing each statement it seeks to introduce at trial pursuant to Rule

801(d)(2)(e). The Court set a hearing for July 22, 2019, to address those statements.

       On May 29, 2019, at 11 am MTD, the government filed a Motion for Relief from Order

Granting Motion for James hearing (the “Motion for Relief”), Dkt. 320. In its Motion for Relief,

the government argued it had presented its reasoning for safety concerns of certain “High

Concern” witnesses during the ​ex parte​ hearing on the day prior – May 28, 2019. The

government argued that the Court’s Order for James Hearing would compromise the safety of

these certain witnesses.

       By 6:00pm MTD ​that very same day, ​the Court granted the Motion for Relief precluding

the defendants any meaningful opportunity to respond. In the Order, the Court granted the
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government’s request for additional time to submit its proffer to prove the existence of the

alleged conspiracies and each defendant’s alleged knowing participation in them– from June 3 to

June 6 instead – while shortening the defendants’ time to respond, even though the government

stated its ability to disclose most Jencks material by June 3. Additionally, the government has

been investigating and in possession of the evidence since 2016. The reason for the extra three

days granted to the government and taken from the defendants’ time to respond is inexplicable.

Even more troubling and detrimental to the defendants, the Court allowed the government to

exclude reference to “High Concern” witnesses from its June 6th proffer and from its July 3rd

disclosure requirements. The Court has allowed the government to withhold disclosure of these

“High Concern” witnesses -- and only if the court finds it necessary -- until July 9 – only one

week before defendants’ deadline to object to the identified statements, and only 20 days before

trial is set to begin.

                                          ARGUMENT

I.      THE COURT’S ​EX PARTE​ MEETING WITH THE GOVERNMENT DENIES
        MR. DERMEN DUE PROCESS

        Defendants faced with disclosure issues relating to national security and classified

information are afforded more due process than the defendants in this case. As the Supreme

Court stated, ​“[o]ur judicial system is designed to function in the context of adversary

proceedings. Therefore, we are reluctant to authorize ​ex parte, in camera ​determinations unless

they are truly necessary to protect important governmental interests.”​ ​Erckman v. United States​,

416 U.S. 909, 914–15 (1974). The Court held that was true even in the face of strong
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governmental interests such as grand jury secrecy and national security issues. ​Id​. at 915. This

case, however, deals with issues far less important than grand jury secrecy or national security.

This case deals with alleged fraud on the government relating to biofuel tax credits. If witness

safety is a concern, there are far less unconstitutional and far less intrusive ways of dealing with

such concerns. For example, the government could put the witnesses under government

surveillance for their safety or could otherwise provide for their protection. When constitutional

rights and due process are at stake, such expenses are justified.

        In fact, there is no other area of law where security concerns are more intense than in

cases relating to national security issues. Yet in those cases, the defense still has a right to see

discovery and participate in the adversarial process. ​See​ ​United States v. Aref,​ 533 F.3d 72, 80

(2d Cir. 2008) (government's privilege to protect classified information “must give way” when

discovery is helpful or material to the defense). Indeed, even where national security is at stake,

Congress warned that “the defendant should not stand in a worse position, because of the fact

that classified information is involved, than he would without the Act.” S. Rep. No. 96-823, at 9

(1980). ​See​ ​also, e.g., United States v. Poindexter,​ 698 F. Supp. 316, 320 (D.D.C. 1988). Courts

require that such information cannot be withheld if it would be helpful or material, even if it

would not be “favorable in a ​Brady​ sense.” ​Aref,​ 533 F.3d at 80.

        Even the Federal Rules of Criminal Procedure illustrate Congress’s disfavor of ​ex parte

proceedings. Rule 16(d)(l) states that a court “may” permit a party to show good cause for a

protective order through an ​ex parte ​statement. Congress amended the language of proposed

Rule 16(d)(l) from requiring ​ex parte ​proceedings at the request of a party to permit such
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proceedings. The House Judiciary​ ​Committee observed that in determining whether to proceed

ex parte​, a court should “[bear] in mind that ​ex parte​ proceedings are disfavored and not to be

encouraged.” Rule 16, Fed.R.Crim.P., Advisory Committee Notes.

       Simply, ​ex parte​ proceedings are exceedingly disfavored. As the Sixth Circuit has

cautioned, “[d]emocracies die behind closed doors.” ​Detroit Free Press v. Ashcroft​, 303 F.3d

681, 683 (6th Cir. 2002). As the Ninth Circuit has observed, “ex parte proceedings are anathema

in our system of justice.” ​Guenther v. Commissioner of Internal Revenue,​ 889 F.2d 882, 884 (9th

Cir. 1989), ​appeal after remand,​ 939 F.2d 758 (9th Cir. 1991).

       In ​United States v. Abuhamra​, 389 F.3d 309 (2d Cir. 2004), the Second Circuit

emphasized the importance of open, adversary proceedings, declaring that “[particularly where

liberty is at stake, due process demands that the individual and the government each be afforded

the opportunity not only to advance their respective positions but to ​correct or contradict

arguments or evidence offered by the other.”​ ​Id.​ at 321 (emphasis added).

       Finally, ​ex parte​ proceedings relating to discovery issues present an overwhelming

danger of erroneous decisions. The Court cannot, and should not, function as Mr. Dermen’s

surrogate counsel. The relevance and materiality of particular witness statements, or the

exculpatory nature of such evidence, is not readily apparent except to those with intimate

knowledge of the factual details as well as the full scope of discovery. The Court is not tasked

with being a zealous advocate for the defense; that is defense counsel’s job. Indeed, given the

volume of discovery, the variety and complexity of the charges in the Indictment, the language

and geographic diversity of the evidence and witnesses, and the charges’ technical complexity, it
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would be impossible for the Court to make the appropriate determination regarding the

government's motion to preclude production of material absent a meaningful and substantive

contribution from defense counsel; that cannot occur in an ​ex parte s​ etting. “In our adversary

system, it is enough for judges to judge. The determination of what may be useful to the defense

can properly and effectively be made only by an advocate.” ​Dennis v. United States,​ 384 U.S.

855, 875 (1966). The Court should stay the Order until the defense can be heard on this issue.

       In reality, though, there is no way the Court or the defendants know if these so-called

“High Concern” witnesses are under threat. The government offers no criteria upon which it

based such evaluations, and the Court similarly failed to provide any such criteria. The

defendants had a right to be heard on this issue and to be part of this adversarial process prior to

the Court’s ruling. And the defendants have a right to know the criteria under which the

government, and the Court, has designated these witnesses as “High Concern.”

       Considering the government received this ​ex parte​ opportunity to persuade the Court to

modify a prior order without input from the defendants, especially in light of the fact that the

scheduling order set forth by the Court was intended to be final, it is highly inappropriate to

permit only a few weeks notice regarding key witnesses. Moreover, Mr. Dermen has been

detained since August 2018, and therefore, defendants cannot adequately prepare for a trial

involving 46 counts, five defendants, hundreds of boxes of documents, and multiple terabytes of

discovery. Allowing the government to withhold the identities and information relating to “High

Concern” witnesses will delay the trial, prejudice the defendants, and violate their Sixth

Amendment right to confront the witnesses against them.
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II.     THE COURT’S CHANGES TO ITS SCHEDULING ORDER ARE HIGHLY
        PREJUDICIAL TO THE DEFENDANTS’ PREPARATION OF THEIR DEFENSE

        The Court’s latest Order is in direct contravention to its Trial Order and briefing

schedule, which required the government to produce all Jencks material by June 3. Allowing the

government to withhold disclosure of certain witness statements, even where those statements

might put a witness at risk, until seven days before Mr. Dermen must object to those statements

used against him, will foreclose the defendants’ ability to adequately prepare for trial. ​See​ ​United

States v. Wright​, No. 00-40024-01-SAC, 2001 WL 1456856, at *1 (D. Kan. Oct. 10, 2001). In

Wright, ​the district court held,

        The court's impression is that ​the volume of such information, its detailed nature,
        and the likelihood of it generating additional investigation warrant disclosure
        earlier than the fourteen-day period offered by the government. The court must
        balance this concern against the risk to witnesses, the burden of increasing
        security for those witnesses, and the expected effectiveness of this increased
        security. The court concludes that disclosure thirty days prior to trial will expedite
        the trial proceedings and provides a sufficient and fair amount of time for the
        defendants to prepare for trial, including effective cross-examinations, without
        unduly extending the increased risk to witnesses' safety and without placing
        unreasonable burdens on the government to reinforce and raise its protection of
        witnesses.

Id​. (emphasis added). Despite the “sound and substantial justification for its concern over

witness safety,” the court in ​Wright​ ordered disclosure earlier than the government requested.

After all, it is the criminal justice system, and not the witness justice system or a witness

protection program.

        In this case, there are hundreds of boxes of documents and multiple terabytes of

discovery. The government has recently made unsubstantiated claims that Mr. Dermen is the
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mastermind and leader of all the conduct charged in the entire Indictment. By allowing one

week to object to witness statements, so close to trial, effectively denies Mr. Dermen’s ability to

adequately prepare. The Court’s new timeline is wholly prejudicial causing severe denial of Mr.

Dermen’s Constitutional due process rights. The Court should require the government to disclose

the identity, and the statements, of these “High Concern” witnesses according to the original

Order for James Hearing, which is already later than the defendants requested.

III.   THE GOVERNMENT’S DESIGNATION OF CERTAIN WITNESSES AS “HIGH
       CONCERN” IS SUSPECT, TROUBLING, AND SIMILARLY PREJUDICIAL

       Of note, defendants have been made aware that on Friday, May 31st, 2019, CBS will air a

new episode of its nationally syndicated television series ​Whisteblower​ hosted by Judge Alex

Ferrer, titled “Whistleblower – Polygamy, Power and Profits: The Case Against the Kingstons,”

featuring Bryan and Mary Nelson, who are self identified “whistleblowers” and claim to have

tipped off the federal government to the issues in this case. See Exhibit A, “Whistleblower –

Polygamy, Power and Profits: The Case Against the Kingstons,” episode trailer ​here​.1

“Whistleblower,” is a tabloid entertainment report featured on CBS’s entertainment webpage--

not be confused as national news programming. Mary Nelson is a former member of the Davis

County Cooperative Society, or the polygamous “Order,” which the charges in the Indictment

revolve around. In the episode trailer, Mary Nelson states that she blew the whistle on the Order

after escaping its polygamous grip. Mr. Dermen has no relationship or connection to this

Polygamous Order. Not only could this presentation be highly prejudicial to the jury pool on a


1
 ​ ttps://www.cbspressexpress.com/cbs-entertainment/video?watch=6dmk6agx6z​. An original and
  h
one copy of Exhibit A will be lodged with the Court in a conventional CD format, and will be provided
electronically to all counsel.
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 local and national level but, it raises questions as to who the Nelsons are and what the

 government is withholding regarding their testimony. For instance, are they included in these

 “High Concern” witnesses that the Court has allowed the government to delay disclosing details

 about, allegedly for their own safety? If so, that claim is contradicted by their voluntary presence
                          2
 on national television.

         Mr. Dermen has no relationship or involvement with the Polygamous Order. Yet over

 100 of the government’s witnesses, including an unknown number of these “High Concern”

 witnesses, are employed by or related to the Polygamous Order in some way. From the Court’s

 Order, however, it appears it is allowing the government to withhold information related to

 witnesses Mr. Dermen has no knowledge of, and ​who have no knowledge of him,​ as a

 non-Polygamous Order and improperly-joined defendant. Mr. Dermen cannot adequately prepare

 a defense without knowing who will be testifying against him, and he cannot guess who the

 government might be relying on because he is not, and has never been, related to the Polygamous

 Order. If the “High Concern” witnesses the government is withholding information about are

 related to the Polygamous Order, Mr. Dermen has a right to know who they are and what their

 evidence will be, since he has no connection to them or to any of their supposed safety concerns.




 2
    The fact that the Nelsons – employees of the Davis County Cooperative Society (the “Order”) bank –
 are appearing on television highlights the issues Mr. Dermen raised in his Motion to Sever, that this case
 is centered around the Order and Order-related businesses and activities, and that including Mr. Dermen
 in this joint trial, where he has no relation to the Order, will confuse the jurors and prejudice his case. In
 fact, Mr. Dermen’s counsel has been contacted by a local journalist regarding the case, and he intends to
 publish an extensive article on Friday, May 31, 2019. This reporter is the designated report on
 polygamous issues in Utah at the Salt Lake Tribune. This case will revolve around this issue, which Mr.
 Dermen has nothing to do with.
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 Simply, the Court’s Order will prejudice Mr. Dermen’s ability to adequately prepare for trial and

 adequately defend himself.

                                         CONCLUSION

        Mr. Dermen should have received an opportunity to be heard by the Court on the

 government’s Motion for Relief and its request to withhold disclosure of certain witnesses. The

 Court should stay its Order pending such opportunity. ​In​ the alternative, the Court should

 reinstate the original Order for James Hearing with its associated deadlines.

 Dated May 31, 2019



                                                             /s/ Mark J. Geragos
                                                             MARK J. GERAGOS
                                                             GERAGOS & GERAGOS
                                                             644 Figueroa Street
                                                             Los Angeles, CA 90017
                                                             Telephone: (213) 625-3900
                                                             Email: geragos@geragos.com
                                                             Attorneys for Lev Aslan Dermen
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                                 CERTIFICATE OF SERVICE

         I hereby certify that I filed a true and correct copy of the foregoing, on thne case styled
 United States of America v. Lev Aslan Dermen,​ this 31st day of May, 2019, with the Clerk of the
 Court using CM/ECF, which sent notification of the filing to all parties registered to receive such
 notice in the case.



                                                      /s/   Mark J. Geragos
